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                                                                                 USDC SDNY
                                                                                 DOCUMENT
                                UNITED STATES DISTRICT COURT                     ELECTRONICALLY FILED
                               SOUTHERN DISTRICT OF NEW YORK                     DOC #:
                                                                                 DATE FILED: 10/19/2020
-------------------------------------------------------
TRIREME ENERGY HOLDINGS, INC.;
AND TRIREME ENERGY                                      X
DEVELOPMENT, LLC,                                       :
                                                        :
                       Plaintiffs,                      :
                                                            CIVIL ACTION NO. 20-cv-5015 (VEC)
                                                        :
         -against-                                      :
                                                        :
INNOGY RENEWABLES US LLC;                               :
CASSADAGA WIND LLC; AND INNOGY :
SE,                                                     :
                                                        :
                       Defendants.
                                                        X

-------------------------------------------------------

                            STIPULATED CONFIDENTIALITY AGREEMENT
                                  AND PROTECTIVE ORDER

         WHEREAS, the parties to this action (jointly the “Litigants” and each individually a

“Litigant”) request that this Court issue a protective order pursuant to Federal Rule of Civil

Procedure 26(c) to protect the confidentiality of nonpublic and competitively sensitive

information that any Litigant and any natural person, partnership, corporation, association, or

other legal entity not named as a party to this action (“Non-Party”) may need to disclose in

connection with discovery or trial in this action;

         WHEREAS, the Litigants, through counsel, agree to the following terms; and

         WHEREAS, this Court finds good cause exists for issuance of an appropriately tailored

protective order governing the pretrial phase of this action,

         IT IS HEREBY ORDERED that any person subject to this Order – including without

limitation the Litigants (including their respective corporate parents, successors, and assigns),

their representatives, agents, experts, and consultants, witnesses, third parties/non-parties, and all
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other interested persons with actual or constructive notice of this Order – will adhere to the

following terms, upon pain of contempt:

       1.      With respect to “Discovery Material” (i.e., information of any kind produced,

disclosed, or made available for viewing or inspection in the course of discovery in this action,

including information produced, provided, or maintained by third parties) that a person has

designated as “Confidential” pursuant to this Order, no person subject to this Order may disclose

such Confidential Discovery Material to anyone else except as this Order expressly permits.

Additionally, no person subject to this Order may utilize such Confidential Discovery Material

except as provided for herein.

       2.      As limited by the standards set forth below, any Discovery Material produced

subject to the terms of this Order may be considered “Confidential” and given confidential

treatment as described below. All protected Discovery Material produced subject to this Order

shall be designated or stamped “CONFIDENTIAL.”

       3.      Any Litigant or Non-Party producing, disclosing, or making available for

inspection and viewing Discovery Material (a “Producing Party”) may designate as “Confidential”

only the portion(s) of such material or information that it reasonably and in good faith believes

consists of (a) confidential or propriety technical, financial, commercial, or business information;

(b) information that constitutes a trade secret; (c) highly personal information; or (d) information

the Producing Party received in confidence from any source.

       4.      Where a Producing Party has designated Discovery Material as Confidential,

anyone receiving such Confidential Discovery Material may disclose such Confidential

information only to the following persons:

               a.      the recipient’s attorneys representing it in this action;




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               b.      outside experts or consultants retained by the recipient’s counsel for
                       purposes of this action, provided they have signed a Non-Disclosure
                       Agreement in the form attached hereto as Exhibit A;

               c.      secretarial, paralegal, clerical, duplicating, and data processing personnel of
                       the foregoing;

               d.      the Court, including any court of appeal, and court personnel;

               e.      any noticed or subpoenaed deponent, provided that it appears that the
                       witness authored or received a copy of the Discovery Material, was
                       involved in the subject matter described therein, or is employed by the
                       Producing Party, or if the Producing Party consents to such disclosure;

               f.      any vendor retained by or for the Litigants to host or store electronic
                       discovery or to assist in preparing for pretrial discovery, trial, and/or
                       hearings, including, but not limited to, court reporters, videographers,
                       litigation support personnel, copy services, jury consultants, and individuals
                       retained to prepare demonstrative and/or audiovisual aids for use in the
                       courtroom or in depositions or mock jury sessions, as well as their staff,
                       stenographic, and clerical employees whose duties and responsibilities
                       require access to such materials, provided that such vendor first executes a
                       Non-Disclosure Agreement in the form attached hereto as Exhibit A;

               g.      any mediator or arbitrator that the Litigants engage in this matter or that this
                       Court appoints, provided such person has first executed a Non-Disclosure
                       Agreement in the form attached hereto as Exhibit A; and

               h.      the Litigants’ officers, directors, employees, and/or agents who are required
                       to participate in decisions with reference to this lawsuit.

       5.      With respect to the Confidential portions of any Discovery Material other than

deposition transcripts and exhibits, the Producing Party or its counsel may designate such portion

as Confidential by marking the same as “CONFIDENTIAL.”

       6.      A Producing Party claiming that Discovery Material that is electronically stored or

that otherwise cannot conveniently be labeled pursuant to this Order shall notify opposing counsel

in writing, prior to such information being made available to the recipient, that such information

is designated and shall be kept as Confidential pursuant to the terms of this Order.




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       7.      A Producing Party or its counsel may designate portions of deposition transcripts

as Confidential Discovery Material either by: (a) making a statement on the record before the close

of the deposition that specifies those portions of the transcript that shall be so designated pursuant

to this Order, in which case the reporter will bind the transcript of the designated testimony in a

separate volume and mark it as “CONFIDENTIAL”; or (b) within fourteen days after receipt of

the final deposition transcript, notifying the reporter and all counsel of record in writing of the

specific pages and lines of the transcript that are to be designated Confidential. During the period

between the deposition and the time when the fourteen-day period after receipt of the final

transcript has run, all deposition transcripts shall be treated as Confidential Discovery Material in

the manner provided for in this Order.

       8.      Recipients of Confidential Discovery Material under this Order shall keep and

maintain such Discovery Material in the strictest of confidence and may use such material solely

for the prosecution and defense of this action and any appeals thereto, and not for any business,

commercial, or competitive purpose, or in any other action or proceeding (including, but not

limited to, arbitration, mediation, or any other formal or informal dispute resolution process other

than between the Litigants and for the purpose of resolving the claims in this action). Each person

who has access to Discovery Material designated as Confidential pursuant to this Order must take

all due precautions to prevent the unauthorized or inadvertent disclosure of such material. Nothing

contained in this Order, however, will affect or restrict the rights of any Producing Party with

respect to its own Discovery Material produced in this action.

       9.      No information that is in the public domain, which is already known by the

receiving Litigant through proper means, which is or becomes available to a Litigant from a source

other than a Producing Party who asserts that such information is confidential, rightfully in




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possession of such information on a non-confidential basis, shall be deemed or considered to be

Confidential material under this Order.

         10.   If counsel for a Litigant receiving Discovery Material designated as Confidential

hereunder objects to such designation of any or all of such material, the following procedure shall

apply:

               a.      Counsel for the objecting Litigant shall serve on the Producing Party via
                       email or letter a written objection to such designation, which shall describe
                       with particularity the Discovery Material in question and shall state the
                       grounds for objection. Counsel for the Producing Party shall respond in
                       writing via email or letter to such objection within 14 days, and shall state
                       with particularity the grounds for asserting that the Discovery Material is
                       Confidential. If no timely written response is made to the objection, the
                       challenged designation will be deemed to be void. If the Producing Party
                       makes a timely response to such objection asserting the propriety of the
                       designation, counsel shall then meet and confer in good faith in an effort to
                       resolve the dispute.

               b.      If a dispute as to a Confidential designation of Discovery Material cannot
                       be resolved by agreement, the Litigants shall jointly contact Chambers to
                       schedule a joint teleconference with the Court for resolution of the dispute,
                       in accordance with this Court’s Individual Practices, and shall not file a
                       formal motion for an order regarding the challenged designation absent this
                       Court’s permission. The Discovery Material that is the subject of the filing
                       shall be treated as originally designated pending resolution of the dispute.

         11.   To the extent consistent with applicable law, the inadvertent or unintentional

disclosure or production of Confidential Discovery Material that should have been designated as

such, regardless of whether such material was so designated at the time of disclosure or production,

shall not be deemed a waiver in whole or in part of a Producing Party’s claim of confidentiality,

either as to the specific Discovery Material disclosed or as to any other material or information

concerning the same or related subject matter. Such inadvertent or unintentional disclosure may

be rectified by notifying in writing counsel for all Litigants to whom the Discovery Material was

disclosed that the material should have been designated Confidential, within a reasonable time




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after becoming aware of the inadvertent or unintentional disclosure or production. Such notice

shall constitute a designation of the Discovery Material as Confidential under this Order.

       12.     When the inadvertent or mistaken disclosure or production of any Discovery

Material protected by privilege, work-product immunity, or any other applicable protection is

discovered by the Producing Party and brought to the attention of the recipient(s), each recipient

shall treat such material in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such

inadvertent or mistaken disclosure or production of such Discovery Material shall not by itself

constitute a waiver by the Producing Party of any claims of privilege, work-product immunity, or

any other applicable protection, and Federal Rule of Evidence 502(b) and (d) shall apply.

However, nothing herein restricts the right of the recipient to challenge the Producing Party’s claim

of privilege or other protection within a reasonable time after receiving notice of the inadvertent

or mistaken disclosure or production.

       The Litigant or Non-Party receiving the information that it believes is subject to attorney-

client privilege and/or attorney work-product immunity but was inadvertently disclosed shall

promptly notify the producing party of that belief. No Litigant or Non-Party that received the

inadvertently produced or disclosed information under the provisions of this Order may use any

Documents received that may have been inadvertently disclosed unless and until ruling by the

Court, nor may that party use any information contained in or obtained from such inadvertent

production in this action or for any purpose absent ruling from the Court. If the receiving Litigant

or Non-Party wishes to challenge the propriety of the claim of privilege or immunity, it may do so

only by filing a motion with the Court. The inadvertently disclosed information must be preserved

until the claim is resolved.




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        13.    This Order shall not deprive any Litigant or Non-Party of its right to object to

discovery by any other Litigant, nor limit any Litigant’s or Non-Party’s rights with respect to

Discovery Material except as specifically provided herein. This Order is being entered without

prejudice to the right of any Litigant to move the Court for modification or for relief from any of

its terms.

        14.    In filing Confidential Discovery Material with the Court, or filing portions of any

pleadings, motions, or other papers that disclose such Confidential Discovery Material

(“Confidential Court Submission”), the Litigants shall publicly file a redacted copy of the

Confidential Court Submission via the Electronic Case Filing System. The Litigants shall file an

un-redacted copy of the Confidential Court Submission under seal with the Clerk of this Court,

and the Parties shall serve this Court and opposing counsel with un-redacted courtesy copies of

the Confidential Court Submission. To the extent the procedure outlined in this paragraph is

contrary to the Local Civil Rules of this Court, or this Court’s Individual Practices, those Local

Civil Rules or Individual Practices shall control.

        15.    Before trial or any Court hearing in this action at which counsel for a Litigant may

wish to present Discovery Material designated Confidential pursuant to this Order, counsel for the

Litigants, and the Producing Party if it is not a party to this action, shall confer regarding the

appropriate means to protect the confidentiality of the information that counsel desires to present

to the Court or at trial. If counsel cannot reach an agreement, counsel may apply to the Court for

resolution of the issue.

        16.    The Court retains the discretion as to whether to afford Confidential treatment to

any Discovery Material designated as Confidential and submitted to the Court in connection with

any motion, application, hearing, or trial in this action.




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       17.     Nothing in this Order will prevent any Litigant from producing any Confidential

Discovery Material in its possession in response to a lawful subpoena or other compulsory process,

or if required to produce by law or by any government agency having jurisdiction, provided that

such Litigant gives written notice to the Producing Party of the subpoena or other request as soon

as reasonably possible, and if possible by the time allowed under the request, at least 10 days

before any disclosure. Upon receiving such notice, the Producing Party will bear the burden to

oppose compliance with the subpoena, other compulsory process, or other legal notice, if the

Producing Party deems it appropriate to do so.

       18.     This Order shall survive the termination of this action and shall remain in full force

and effect unless modified by an Order of this Court or by the written stipulation of the parties

filed with the Court.

       19.     This Court will retain jurisdiction over all persons subject to this Order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any contempt

thereof.

       20.     Within ninety (90) days of the final conclusion of this action, including all appeals

and expiration of time to file appeals, each Litigant or other individual subject to the terms hereof

shall assemble and return to the originating source all originals and unmarked copies of

Confidential Discovery Material, or, at the election of the Producing Party, destroy, all copies of

Confidential Discovery Material that contain and/or constitute attorney work product, as well as

excerpts, summaries and digests revealing Confidential Discovery Material, and to certify to the

applicable Producing Party that the material has been returned or destroyed; provided, however,

that counsel may retain complete copies of all transcripts and pleadings, including any exhibits

attached thereto, for archival purposes, subject to the provisions of this Order. To the extent a




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Party requests the return of Confidential material from the Court after the final conclusion of the

litigation, including the exhaustion of all appeals therefrom and all related proceedings, the Party

shall file a motion seeking such relief.

Dated: October 14, 2020


 By: /s/ Matthew R. Ladd                               /s/ Susan K. Leader
     Matthew R. Ladd                                  Susan K. Leader
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     Attorneys for Plaintiffs Trireme Energy          Counsel for Defendants Innogy Renewables
     Holdings, Inc. and Trireme Energy                US LLC and Cassadaga Wind LLC
     Development, LLC


IT IS SO ORDERED.


Dated: October 19, 2020
                                                     Valerie E. Caproni
                                                     United States District Judge, SDNY




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                EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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TRIREME ENERGY HOLDINGS, INC.;
AND TRIREME ENERGY                                      X
DEVELOPMENT, LLC,                                       :
                                                        :
                       Plaintiffs,                      :
                                                            CIVIL ACTION NO. 20-cv-5015 (VEC)
                                                        :
         -against-                                      :
                                                        :
INNOGY RENEWABLES US LLC;                               :
CASSADAGA WIND LLC; AND INNOGY :
SE,                                                     :
                                                        :
                       Defendants.
                                                        X

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                                  NON-DISCLOSURE AGREEMENT

         I, _______________________________, acknowledge that I have received a copy of, have

read, and understand all terms of the Protective Order in this action governing the use of

Confidential Discovery Material. I represent that I am a person or authorized representative of an

entity permitted by the Protective Order to obtain such Discovery Material. I agree that I will not

disclose such Discovery Material to anyone other than the permitted recipients specified in the

Protective Order and will use such Discovery Material only for purposes of this action. I further

agree that, within ninety (90) days after the final conclusion of this action, including exhaustion of

all appeals, I will return all Confidential Discovery Material to the Producing Party or attorney

from whom I received it. I understand that I am submitting myself of the jurisdiction of the United

States District Court for the Southern District of New York for the purpose of any issue or dispute

arising hereunder and that my willful violation of any term of the Protective Order, or of this Non-

Disclosure Agreement, could subject me to punishment for contempt of Court.
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       To the extent that I am signing this Non-Disclosure Agreement on behalf of an entity

authorized to receive Confidential Discovery Material pursuant to the Protective Order, the terms

of this Non-Disclosure Agreement and the Protective Order shall bind myself personally and the

company on whose behalf I am executing it.


Dated: _________________                     Signature: ________________________________

                                             Company: ________________________________




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